Case 8:22-cv-00099-DOC-DFM Document 336 Filed 05/06/22 Page 1 of 6 Page ID #:4826


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11
                             UNITED STATES DISTRICT COURT

12                         CENTRAL DISTRICT OF CALIFORNIA
13                                    SOUTHERN DIVISION
14
       JOHN C. EASTMAN                            Case No. 8:22-cv-00099-DOC-DFM
15
                    Plaintiff,                    NOTICE
16
       vs.
17
18     BENNIE G. THOMPSON, et al.,

19                  Defendants.
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21
             1.   On April 19, 2022, this Court issued an Order Re: Remaining Privilege
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                  Claims (Dkt. 328) directing the parties to compile and submit a consolidated
23
                  privilege log with only the remaining challenged documents and objections.
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             2.   On April 29, 2022, after seeking (Dkt. 333) and receiving (Dkt. 334) an
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                  extension of time to file the consolidated privilege log, Plaintiff filed a Joint
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                  Status Report (Dkt. 335). In the Joint Status Report, Plaintiff noted that he
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                  would withdraw privilege claims with respect to several hundred documents
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 1            totaling over 10,000 pages. Plaintiff also requested discovery of all
 2            defendants. Defendants Bennie G. Thompson and the Select Committee to
 3            Investigate the January 6th Attack on the United States Capitol (collectively,
 4            the “Select Committee”) requested an opportunity to review the remaining
 5            privilege claims in light of the documents Plaintiff intended to produce and
 6            to submit to the Court a proposal for next steps no later than May 6, 2022.
 7      3.    On May 2, 2022, the Select Committee received from Plaintiff a production
 8            of 933 documents totaling approximately 15,616 pages along with a
 9            consolidated privilege log identifying 2,018 documents totaling
10            approximately 20,110 pages. The Select Committee has since reviewed
11            both the documents as well as the consolidated privilege log produced by
12            Plaintiff.
13      4.    Based on that review, the Select Committee hereby notifies Plaintiff that it
14            withdraws its objections to 721 documents, totaling approximately 13,929
15            pages. Further, the Select Committee hereby notifies Plaintiff that of the
16            remaining documents, the Select Committee is willing to hold in abeyance
17            its objections to 576 documents, totaling approximately 3,236 pages.
18            Although the Select Committee does not withdraw its objections to these
19            576 documents, it does not intend to pursue in camera review of these
20            documents at this time. The Select Committee reserves the right to request
21            in camera review of the documents held in abeyance at a later date.
22      5.    The Select Committee stands on its objections to the remaining 721
23            documents, totaling approximately 2,945 pages. The Select Committee
24            believes these 721 documents are appropriate for the Court’s in camera
25            review and consideration at this time.
26      6.    The Select Committee will provide to Plaintiff a list of the bates numbers of
27            documents for which it is withdrawing its objections or holding its
28            objections in abeyance. The Select Committee respectfully suggests that
                                         NOTICE
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 1            Plaintiff provide to the Court the further revised consolidated privilege log
 2            contemplated in the Joint Status Report (Dkt. 335) containing only the 721
 3            documents that the Select Committee believes at this time are appropriate
 4            for in camera review.
 5      7.    The Select Committee believes that the legal issues underlying Plaintiff’s
 6            claims of attorney-client privilege or work product protection have largely,
 7            if not entirely, been determined by the Court’s Order of March 28, 2022
 8            (Dkt. 260). However, should Plaintiff believe that additional briefing is
 9            necessary, and should this Court agree, the Select Committee respectfully
10            requests that the Court set an expedited briefing schedule. The Select
11            Committee’s need for the documents at issue has only become more
12            significant in light of its review of the documents produced following the
13            Court’s Order of March 28, 2022, and as the Select Committee prepares to
14            present the conclusions of its investigation to the public through hearings,
15            scheduled to begin in June 2022, and forthcoming reports. See H. Res. 503,
16            117th Cong. (2021). Thus, the Select Committee proposes the following
17            briefing schedule:
18                  Friday, May 13, 2022:      Plaintiff’s opening brief
19                  Friday, May 20, 2022:      Select Committee’s response brief
20                  Tuesday, May 24, 2022: Plaintiff’s reply brief
21      8.    For the reasons stated in the Select Committee’s Response to Plaintiff’s
22            Motion for Exculpatory Evidence (Dkt. 178), its Response to Plaintiff’s
23            Motion for Early Discovery (Dkt. 237), and Chapman University’s
24            Opposition to Plaintiff’s Motion for Early Discovery (Dkt. 232), the Select
25            Committee objects to discovery as inappropriate and unnecessary to resolve
26            these issues. As this Court has already held, Plaintiff, not the Select
27            Committee, is in the best position to present evidence to rebut the assertion
28            that his legal counsel was used to further a crime or fraud. See Order, Dkt.
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 1            182 at 2.
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 3                                       Respectfully submitted,

 4                                       /s/ Douglas N. Letter
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 7                                         Principal Deputy General Counsel
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13 Dated: May 6, 2022
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 1                             CERTIFICATE OF SERVICE
 2
                       WASHINGTON, DISTRICT OF COLUMBIA
 3       I am employed in the aforesaid county, District of Columbia; I am over the age of
 4 18 years and not a party to the within action; my business address is:
 5       OFFICE OF GENERAL COUNSEL
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 8       On May 6, 2022, I served the NOTICE on the interested parties in this action:
 9       Anthony T. Caso
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17
         Attorneys for Plaintiff John C. Eastman
18
19      (BY E-MAIL OR ELECTRONIC TRANSMISSION)
          The document was served on the following via The United States District Court –
20        Central District’s CM/ECF electronic transfer system which generates a Notice
21
          of Electronic Filing upon the parties, the assigned judge, and any registered user
          in the case:
22
23       (FEDERAL) I declare under penalty of perjury that the foregoing is true and
                   correct, and that I am employed at the office of a member of
24                 the bar of this Court at whose direction the service was made.
25
         Executed on May 6, 2022 here, at Bethesda, Maryland.
26
27                                                 /s/ Douglas N. Letter
28

                                  CERTIFICATE OF SERVICE
